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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
                                                                       X
    KELLEY AMADEI,CAROLA CASSARO,LAURA
    CUCULLU,COREY FIELDS, ANNE GARRETT,AMY
    LANIGAN, MATT O'ROURKE,ERIC POLK,and
    KARENPOLK,

                                       Plaintiffs,                                     MEMORANDUM & ORDER

                     -against-                                                           17-CV-5967(NGG)(VMS)
    KIRSTJEN M.NIELSEN,KEVIN K. MCALEENAN,
    LEON HAYWARD,FRANCIS J. RUSSO,
    RONALD D. VITIELLO,THOMAS DECKER,
    DAVID JENNINGS,and, JOHN DOES 1
    AND 2,

                                       Defendants.
                                                                        X
    NICHOLAS G. GARAUFIS, United States District Judge.

            Plaintiffs Kelley Amadei, Carola Cassaro, Laura Cucullu, Corey Fields, Anne Garrett,

    Amy Lanigan, Matt O'Rourke,Eric Polk, and Karen Polk bring this action requesting

    declaratory and injunctive relief pursuant to § 702 ofthe Administrative Procedure Act("APA"),

    5 U.S.C. § 706(2), and the Fourth Amendment to the United States Constitution against

    Defendants Kirstjen M.Nielsen, Kevin K. McAleenan, Leon Hayward, Francis J. Russo, Ronald

    D. Vitiello, Thomas Decker, David Jennings, and Defendant Doe Officers 1 and 2(collectively,

    "Defendants").' (Compl.(Dkt. 1).)

            Before the court is Defendants' motion to dismiss Plaintiffs' complaint pursuant to

    Federal Rule of Civil Procedure 12(b)(1) and (6). (See Defs. Mot. to Dismiss("Defs. Mot.")


   'All Defendants are named in their official capacities: Kirstjen Nielsen is the United States Secretaiy of Homeland
   Security; Kevin K. McAleenan is the Commissioner ofU.S. Customs and Border Protection ("CEP"); Leon
   Hayward is the Acting Director ofNew York Field Operations for CEP;Francis J. Russo is the Port Director for the
   John F. Kennedy International Airport Port ofEntiy within CEP; Ronald D. Vitiello is the Acting Director of U.S.
   Immigration and Customs Enforcement("ICE"); Thomas Decker is the Director ofICE's New York Field Office;
   David Jennings is the Director ofICE's San Francisco Field Office; and Defendants Doe I and Doe 2 are officers of
   CEP. (Compl. Vi 20-27.)^Fed. R. Civ. P. 25(d).

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                                                       s/Nicholas G. Garaufis
